Case 1:24-cr-00210-DLF Document 70 Filed 11/18/24 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Crim. No. 24-cr-00210 (DLF)
v.
MITCHELL BOSCH,
Defendant.
VERDICT FORM

Count One: Obstructing Law Enforcement Officers during a Civil Disorder

In order to find the defendant guilty of Count One, you must find that the government proved at
least one of the two following conditions. The order does not matter, but you must unanimously
agree as to which condition or conditions the government proved in order to find the defendant

Count One (a): Obstructing Law Enforcement Officers during a Civil Disorder that
obstructed, delayed, or adversely affected commerece or the movement of an article
or commodity in commerce

Guilty Not Guilty

Count One (b): Obstructing Law Enforcement Officers during a Civil Disorder that
obstructed, delayed, or adversely affected the conduct or performance of a federally
protected function.

f

Guilty Not Guilty

Case 1:24-cr-00210-DLF Document 70 Filed 11/18/24 Page 2 of 3
Count Two: Assaulting, Resisting, or Impeding Certain Officers
In order to find the defendant guilty of Count Two, you must find that the government proved that
the defendant assaulted, resisted, or impeded officers at one or more of the following times: 4:21
p.m., 4:26 p.m., or 4:35 p.m..
In order to find the defendant guilty of Count Two, you must also find that the government proved
that the defendant either made physical contact with an officer or employee of the United States
or acted with the intent to commit another felony (or both).

The order does not matter, but you must unanimously agree as to which incident or incidents and
which condition or conditions the government proved in order to find the defendant guilty.

Count Two (a): Assaulting, Resisting, or Impeding Certain Officers at 4:21 p.m.

Guilty Not Guilty

If you find the defendant guilty of Assaulting, Resisting, or Impeding Certain Officers at 4:21 p.m.,
which condition(s) do you find occurred:

making physical contact with an officer or employee of the United States

~ intent to commit the offense charged in Count One.

Count Two (b): Assaulting, Resisting, or Impeding Certain Officers at 4:26 p.m.

Guilty Not Guilty

If you find the defendant guilty of Assaulting, Resisting, or Impeding Certain Officers at 4:26 p.m.,
which condition(s) do you find occurred:

making physical contact with an officer or employee of the United States

\“__ intent to commit the offense charged in Count One.

Count Two (c): Assaulting, Resisting, or Impeding Certain Officers at 4:35 p.m.

Guilty Not Guilty

If you find the defendant guilty of Assaulting, Resisting, or Impeding Certain Officers at 4:35 p.m.,
which condition(s) do you find occurred:

\%___ making physical contact with an officer or employee of the United States

‘\/__ intent to commit the offense charged in Count One.
Case 1:24-cr-00210-DLF Document 70 Filed 11/18/24 Page 3 of 3

Count Three: Entering or Remaining in a Restricted Building or Grounds

4

Guilty Not Guilty

Count Four: Disorderly and Disruptive Conduct in a Restricted Building or Grounds

7

Guilty Not Guilty

Count Five: Engaging in Physical Violence in a Restricted Building or Grounds

Af

Guilty Not Guilty

Count Six: Disorderly Conduct in a Capitol Building or Grounds

VY

Guilty Not Guilty

Count Seven: Act of Physical Violence in the Capitol Building or Grounds

WZ

Guilty Not Guilty

Date: November iS 2024

